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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                       IN THE UNITED STATES DISTRICT COURT                          June 18, 2019
                       FOR THE SOUTHERN DISTRICT OF TEXAS                        David J. Bradley, Clerk
                                 HOUSTON DIVISION

GILBERT SANCHEZ,                                 §
                                                 §
                       Plaintiff,                §
                                                 §
v.                                               §           CIVIL ACTION NO. H-19-110
                                                 §
ENTERPRISE OFFSHORE DRILLING                     §
LLC and SMART FABRICATORS OF                     §
TEXAS LLC,                                       §
                                                 §
                       Defendants.               §


                                      FINAL JUDGMENT

       For the reasons stated in the court’s Memorandum and Opinion issued on the same day,

this action is dismissed with prejudice. This is a final judgment.

               SIGNED on June 18, 2019, at Houston, Texas.


                                              _______________________________________
                                                           Lee H. Rosenthal
                                                    Chief United States District Judge
